Case 7:97-cr-00024-MFU        Document 613 Filed 09/24/13           Page 1rd
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                                                                                   CEU,S.DIST.COURT
                                         350                                      AT RoANoKE,vA
                                                                                       FILED

                                                                                  sEP 2# 2913
                      IN THE UNITED STATES DISTRICT COURT                       JULIA C.DU    CLE
                                                                               BY;
                     FO R TH E W ESTERN DISTRIC T O F V IR G IN IA                  DEP
                                 R O AN O K E DIVISIO N

O BA D YA H A N IFIA BED                   )       CivilCase No.7:01cv00356
                                           )       C rim inalC ase N o.7:97cr00024-5
                                           )
V.                                         )       M EM ORANPVM OPINION
                                           )
UNITED STATES OF AM ERICA                  )       By:Sam uelG.W ilson
                                           )       U nited StatesD istrictJudge

       ObadyaHanifiAbed,afederalinmate proceedingpro se,filed a timotion forrelieffrom

judgment''(ECF No.13),in which hearguesthathis 1998convictionsaretmlawful. Inasmuch
asAbed ischallenging thevalidity ofhisfederalconvictions,the courtconstruesAbed'smotion

asamotiontovacate,setaside,orcorrectsentenceplzrsuantto28U.S.C.j2255.Uponreview
of the record,how ever,the courtfinds that the m otion m ust be dism issed as an unauthorized,

successivej2255motion.
       Abed challengeshis497-m ohth sentence forbeing a m emberofa crim inalentem rise in

violation ofthe Racketeer Influenced and CorruptOrganizations Acts 18 U.S.C.j 1962(d),
($ûRlCO''),conspiring to violateRJCO,various offensesrelated to damaging and destroying a
building by fire,using a firennn dtlring and in relation to acrime ofviolence,and conspiring to

distribute marijuana,cocaine,and cocaine base. Courtrecords indicatethatAbed previously
tiledmultiplej2255motionsregardingthesameconvidion andsentence,a1lofwhichthiscourt
dismissed. See CivilAction No.7:01cv00356 (claimsdismissed as defaulted and unexcused)
and CriminalCaseNo.7:97cr24,ECF Nos.582,583,and 584 (dismissed assuccessive),ECF
Nos.602,604,and 605 (dismissed as successive). This courtmay consider a second or
successive j2255 motion only upon specitic certification from the United States Courtof
AppealsfortheFourthCireuitthattheclaimsinthemotionmeetcertain criteria. Seej2255(1$.
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                                             351



As Abed has not submitted any evidence of having obtained certitk ation from the Courtof

Appealsto file a second or successive j 2255 motion,the courtmustdismisshismotion as
successive.l

        For the reasons stated,the courtconstrues Abed's motion as a j 2255 motion and
dismissesitassuccessive.                                                                  v.-
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              rhis2C/gayofseptember,2013.                                   ...
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                                                              ted          es lstrictJudge




    1Petitioner is hereby advised of the procedure for obtaining certitkation from the United States Courtof
AppealsfortheFourthCircuittohavethiscotu'treview asuccessivej2255motion. Petitionermustsubmitacopy
ofthe successive j 2255 motion to the CourtofAppeals,along with amotion requesting a tllree-judgepanel
certitkation thatthedistrictcourtmay review the successive j2255motion. See28 U.S.C.j2244. A Fourth
Circuitform and instnzctionsfor filing thismotion are availablefrom the Fourth Circuitatthe following address;
OftkeoftheClerk,UnitedStatesCourtofAppealsfortheFourth Circuit,900E.M ain St.,Richmond,VA 23219.
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